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 8                         UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
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     CITY OF ALMATY,                         Case No. 14-cv-03650-FMO (FFM)
12
                                             Consolidated with case no. 15-cv-02628-
                       Plaintiff,            FMO (CW)
13
                 v.
14
                                             ORDER VACATING FEBRUARY 13,
     VIKTOR KHRAPUNOV, et al.,               2018 MOTION HEARING AND
15                                           DENYING, IN PART, MOTIONS TO
                       Defendants.
16
                                             COMPEL

17        On January 23, 2018, plaintiff, City of Almaty, noticed numerous motions to
18 compel discovery for February 13, 2018. At approximately 5:30 p.m. on Friday,

19 February 9, 2018, the parties filed a stipulation to continue the February 12 hearing to

20 either February 14, February 22, or such other date as the Court desired.

21        The motions are not presented in a manner that is conducive to analysis and
22 decision. The motions include a 618 page joint stipulation along with exhibits

23 comprising another like number of pages. The parties should have grouped together

24 similar arguments and focused on the relevance of the apparently overly broad requests

25 and definitions. Given the sheer number of discovery requests, the parties should have

26 made use of tables to assist in summarizing the issues presented.

27        Nonetheless, the Court has reviewed the documents filed by the parties, vacates
28 the hearing date, and rules as follows:
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 1         1. Depositions.
 2         It appears that the motion only concerns the depositions of Viktor Khrapunov,
 3   Iliyas Khrapunov, Leila Khrapunova, and Madrina Ablyazova. All of these defendants
 4   are allegedly residents of Switzerland. (First Consolidated Amended Complaint at §§
 5   9 and 11.) Ordinarily the deposition of a defendant takes place in the district where the
 6   defendant resides. The Court notes that plaintiff selected the instant forum. The Court
 7   also notes that at least one other United States Court has denied plaintiff’s request that
 8   these defendants be deposed in the United States. In any event, the Court finds that
 9   plaintiff has failed to demonstrate justification for requiring such defendants to travel
10   to the United States for deposition. Accordingly, the Court DENIES plaintiff’s motion
11   to compel the depositions of defendants Viktor Khrapunov, Iliyas Khrapunov, Leila
12   Khrapunova, and Madrina Ablyazova in the United States.
13          2. Written Discovery.
14         The Court notes that defendants Viktor Khrapunov, Iliyas Khrapunov, Leila
15   Khrapunova, and Madrina Ablyazova have raised a non-frivolous objection to personal
16   jurisdiction in this district. In addition, all defendants have filed a motion to dismiss
17   for lack of subject matter jurisdiction. The Court further notes that plaintiff has
18   propounded an extraordinary amount of discovery on defendants, including
19   interrogatories containing numerous subparts in excess of the limits prescribed in the
20   Federal Rules of Civil Procedure.
21         Given these circumstances, the motions as to written discovery are DENIED
22   without prejudice to the extent they seek discovery not narrowly focused on the
23   personal jurisdiction issue and, to the extent necessary, the subject matter jurisdiction
24   issue. With respect to discovery related to jurisdiction, counsel for the parties are
25   ordered to meet and confer in person within ten days of the date of this order to attempt
26   to agree on a reasonable amount of jurisdiction discovery. To the extent the parties are
27   unable to agree, they are ordered to submit a joint stipulation limited to ten pages per
28   side setting forth the last and best offer each side submitted to the other and any

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 1   argument as to why such proposal is appropriate and should be adopted by the Court.
 2   Any such document that exceeds the foregoing page limitations will be rejected and
 3   not considered by the Court. The joint stipulation must be filed within ten days of the
 4   date of the meeting of counsel. The Court will determine whether to hold oral
 5   argument on the joint stipulation and advise the parties accordingly.
 6         IT IS SO ORDERED.
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     DATE: February 12, 2018                              /S/ Frederick F. Mumm
 9
                                                    Honorable Frederick F. Mumm
10                                                  United States Magistrate Judge
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